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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CLEVELAND JOHNSON,            )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motions of

defendant Cleveland Johnson (“Johnson”) for a modification of

sentence (Filing No. 1189) and for reduction of sentence under 18

U.S.C. § 3582(c) (Filing No. 1201).          The Court finds that both

motions should be denied.

            Johnson first argues that his base offense level was

too high because the amount of cocaine base attributed to the

conspiracy at sentencing was more than he was charged with in the

indictment.    Johnson was indicted and convicted of a count

referencing 50 grams or more of cocaine base.              After trial, the

Court made factual findings to resolve Johnson’s objections to

the amount of cocaine indicated by the presentence report (Filing

No. 725).    The Court found that between 7.2 and 13 kilograms were

attributable to Johnson.      The Court assigned a base offense level

of 36 for an amount of cocaine base exceeding 500 grams.                 Johnson

argues that the maximum amount of cocaine base the Court should

have used in determining his base offense level was the 50 grams
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listed in the indictment (resulting in a base offense level of

32).

            This argument is not supported by the facts or the law.

Notably, the words of the indictment (50 grams or more) encompass

the amount upon which Johnson was sentenced.             Courts are entitled

to rely on the factual allegations in the presentence report that

were not the subject of a specific objection.             U.S. v. Beatty, 9

F.3d 686, 690 (8th Cir. 1993).        The Court held an evidentiary

hearing and made factual findings that resolved the defendant’s

objections.    As the Guidelines are not mandatory, the Court was

free to make its own factual findings to determine the

appropriate Guideline range.         U.S. v. Townsend, 408 F.3d 1020,

1022 (8th Cir. 2005) (citing U.S. v. Booker, 543 U.S. 220, 125

(2005)).

            Next Johnson argues that he is entitled to a reduction

in sentence pursuant the 2010 changes in the Guidelines that were

prompted by the Fair Sentencing Act of August 3, 2010.                Fair

Sentencing Act of 2010, Pub. L. 111-220, 124 Stat. 2372 (2010).

Section 2D1.1 of the Guidelines incorporated the new statutory

minimums by lowering the base offense levels for specified

amounts of cocaine base.

            The Court’s prior factual findings regarding the amount

of cocaine base involved represent a range (7.2 to 13 kg) that

straddles two base offense levels under the reformed Guidelines,


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it is not conclusive in determining the applicable Guideline

range that would apply.      However, the lower of the base offense

levels is 36 which is the same level on which Johnson’s current

sentence is based.      Under the new Guidelines, the applicable

Guideline range is 360 months to life.           Johnson’s current

sentence is 360 months with a 24 month credit for a state

sentence.    Thus, the new Guidelines do not operate to reduce

Johnson’s sentence.      Accordingly,

            IT IS ORDERED that defendant’s motions for modification

of sentence and for reduction of his sentence are denied.

            DATED this 14th day of August, 2012.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




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